     Case 3:25-cv-04870-CRB     Document 77-5           Filed 06/16/25   Page 1 of 5



 1

 2

 3

 4

 5

 6

 7

 8                       IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11
     GAVIN NEWSOM, IN HIS OFFICIAL                     Case No. 3:25-cv-04870-CRB
12   CAPACITY AS GOVERNOR OF THE STATE OF
     CALIFORNIA; STATE OF CALIFORNIA,                  [PROPOSED] ORDER GRANTING
13                                                     PRELIMINARY INJUNCTION
                                     Plaintiffs,
14
                 v.
15

16   DONALD TRUMP, IN HIS OFFICIAL
     CAPACITY AS PRESIDENT OF THE UNITED
17   STATES; PETE HEGSETH, IN HIS OFFICIAL
     CAPACITY AS SECRETARY OF THE
18   DEPARTMENT OF DEFENSE; U.S.
     DEPARTMENT OF DEFENSE,
19
                                   Defendants.
20

21

22

23

24

25

26

27

28
                                                   1
                      [PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION (3:25-cv-04870-CRB)
     Case 3:25-cv-04870-CRB           Document 77-5         Filed 06/16/25       Page 2 of 5



 1                                         [PROPOSED] ORDER

 2          Plaintiffs’ motion for a preliminary injunction came before this Court for consideration on

 3   June 20, 2025. Upon consideration, and for good cause shown, IT IS HEREBY ORDERED

 4   that the preliminary injunction is GRANTED.

 5                                    PRELIMINARY INJUNCTION

 6          The Court finds that Plaintiffs have demonstrated a likelihood of success on the merits of

 7   their claims, a likelihood of irreparable harm in the absence of preliminary relief, that the balance

 8   of equities tips in their favor, and that a preliminary injunction is in the public interest. In support

 9   of this Order, the Court makes the following findings:

10          1.      Since Fiscal Year 2024, U.S. Immigration and Customs Enforcement (ICE) has

11   made 4,741 arrests in the Los Angeles Area of Responsibility. Mass episodes of civil unrest

12   related to those arrests in 2024 were nominal. On June 6, 2025, ICE conducted enforcement

13   actions within the Los Angeles Area of Responsibility, including the execution of search warrants

14   at various locations. During these operations, ICE and its agents reportedly took actions that

15   inflamed tensions and provoked protest. In all, the Department of Homeland Security reported

16   that its enforcement activities on Friday, June 6, resulted in the arrest of approximately 44

17   individuals and 70–80 people detained in total, showing that ICE could execute its functions.

18          2.      On June 7, 2025, President Donald Trump issued a memorandum “call[ing] into

19   Federal service members and units of the National Guard.”

20          3.      On June 7, 2025, Secretary of Defense Pete Hegseth issued a memorandum to the

21   Adjutant General of California ordering 2,000 California National Guard soldiers into federal

22   service.

23          4.      On June 9, 2025, Secretary Hegseth issued another memorandum ordering an

24   additional 2,000 California National Guard members into federal service.

25          5.      Defendants’ orders were issued over the express objection of the Governor of the

26   State of California, and without consulting with or receiving input from the Governor, despite 10

27   U.S.C. § 12406’s requirement that all orders made pursuant to that provision “shall be issued

28   through the governors of the States.”
                                                        2
                          [PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION (3:25-cv-04870-CRB)
     Case 3:25-cv-04870-CRB           Document 77-5        Filed 06/16/25      Page 3 of 5



 1           6.     As a result, 2,000 California National Guard soldiers have been moved to federal

 2   command, and an additional 2,000 will be moved imminently, for a total of 4,000 federalized

 3   National Guard soldiers available to be deployed by the federal government in the Los Angeles

 4   area.

 5           7.     Also on June 9, 2025, Secretary Hegseth mobilized 700 active-duty members of

 6   the United States Marine Corps from Camp Pendleton and deployed them to the Los Angeles

 7   area. Together with the 4,000 federalized National Guard soldiers, these constitute the “Title 10

 8   Force” for purposes of this Order.

 9           8.     Plaintiffs are likely to prevail on their claims that Defendants’ actions are ultra

10   vires, including because they violate 10 U.S.C. § 12406, the Posse Comitatus Act, and the Tenth

11   Amendment. Under section 12406, the President lacks the authority to use California’s National

12   Guard soldiers to aid federal agents with enforcing federal law. Section 12406 permits the

13   President to call a State’s National Guard soldiers into service in only three circumstances: (1) the

14   United States is invaded or is in danger of invasion by a foreign nation; (2) there is a rebellion or

15   danger of a rebellion against the authority of the Government of the United States; or (3) the

16   President is unable to execute the laws of the United States with regular forces. None of these

17   three circumstances exist here. In his June 7 memorandum, the President purported to invoke the

18   second and third circumstance, stating that “[t]o the extent protests or acts of violence directly

19   inhibit the execution of the laws, they constitute a form of rebellion against the authority of the

20   Government of the United States.” However, Plaintiffs have shown that the protests in Los

21   Angeles fall far short of a rebellion. “Rebellion” for these purposes is defined by the late 1800s

22   and early 1900s definition of the term because that is the relevant time period for understanding

23   what Congress meant when it passed the Militia Act of 1903. Definitions from this time period

24   share four key characteristics. First, a rebellion must not only be violent but also be armed.

25   Second, a rebellion must be organized. Third, a rebellion must be open and avowed. Fourth, a

26   rebellion must be against the government as a whole—often with the aim of overthrowing the

27   government—rather than in opposition to a single law or policy. The protests in Los Angeles fall

28   far short of a rebellion. Nor do these protests prevent the President or ICE from executing the
                                                       3
                          [PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION (3:25-cv-04870-CRB)
     Case 3:25-cv-04870-CRB           Document 77-5         Filed 06/16/25       Page 4 of 5



 1   laws of the United States with regular forces. Plaintiffs’ evidence shows that ICE has continued

 2   to execute its duties and that National Guard soldiers have been unnecessary to aid with the

 3   enforcement of federal law.

 4           9.      Plaintiffs are also likely to prevail on their claims because section 12406 mandates

 5   that “[o]rders for these purposes shall be issued through the governors of the States.” The

 6   President’s order was not issued through the Governor of the State of California.

 7           10.     Plaintiffs are also likely to prevail on their claim that the use of the Title 10 Force

 8   is likely to result in violations of the Posse Comitatus Act, 18 U.S.C. § 1385, because these forces

 9   are engaging in, or likely to engage in, activity that will “amount to direct active involvement in

10   the execution of the laws,” United States v. Dreyer, 804 F.3d 1266, 1275 (9th Cir. 2015) (citation

11   omitted), and these forces “constitute the exercise of regulatory, proscriptive, or compulsory

12   military power” over civilians,” United States v. Yunis, 924 F.2d 1086, 1094 (D.C. Cir. 1991).

13           11.     Plaintiffs are also likely to prevail on their claim that the use of the Title 10 Force

14   violates the Tenth Amendment because it intrudes on the State of California’s sovereign powers,

15   including by taking command of the State’s own resources and depriving the State of its right to

16   control and have available its National Guard.

17           12.     Plaintiffs are likely to suffer irreparable harm in the absence of temporary relief.

18   First, violations of state sovereignty are irreparable harms. Second, federalization of the

19   California National Guard’s soldiers impairs the Guard’s ability to perform critical functions of

20   the State of California, such as responding to natural disasters and wildfires when California is in

21   peak wildfire season. And third, Plaintiffs have shown that the presence of the Title 10 Force on

22   the streets of Los Angeles, including their actual or perceived support and aid in the execution of

23   ICE duties, has created significant civil unrest and is likely to result in increased civil unrest in

24   the future. Specifically, after National Guard soldiers were deployed to Los Angeles, their

25   presence became the focus of protests and led to civil unrest, requiring intervention by state and

26   local law enforcement to maintain public safety. Further escalation of military force will create a

27   significant and imminent risk of harm to Los Angeles by escalating tensions and increasing the

28
                                                        4
                          [PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION (3:25-cv-04870-CRB)
     Case 3:25-cv-04870-CRB           Document 77-5        Filed 06/16/25      Page 5 of 5



 1   risk of potential hostilities that may lead to further violence against Californians or any violence

 2   against the Title 10 Force or federal agents.

 3          13.     The balance of equities and the public interest favor injunctive relief, particularly

 4   considering the imminent risk of violence in Los Angeles if the Title 10 Force is deployed in

 5   excess of the law.

 6          Accordingly, it is hereby:

 7          ORDERED that Defendants Donald Trump, Secretary of Defense Pete Hegseth, and the

 8   United States Department of Defense (collectively, “Defendants”), and others in active concert or

 9   participation therewith, are ENJOINED from effectuating the President’s June 7 Memorandum

10   “call[ing] into Federal service members and units of the National Guard” in California.

11          ORDERED that Defendants Secretary of Defense Pete Hegseth and the United States

12   Department of Defense (together, “DOD Defendants”) are ENJOINED from further effectuating

13   the June 7 and June 9 DOD Orders deploying members of the California National Guard.

14          ORDERED that Defendants are DIRECTED to return control of the California National

15   Guard to Governor Newsom.

16          ORDERED that DOD Defendants are ENJOINED from ordering or permitting U.S.

17   military forces deployed in Los Angeles or elsewhere in California to execute or assist in the

18   execution of any federal agent or officer’s enforcement of federal law or any civilian law

19   enforcement functions, including but not limited to execution of warrants, arrests, searches,

20   checkpoints, cordons, or patrolling communities, beyond the immediate vicinity of federal

21   buildings or other real property owned or leased by the federal government.

22          ORDERED that this preliminary injunction shall remain in effect pending further order of

23   this Court.

24

25   Dated: ___________________________                    __________________________
                                                           CHARLES R. BREYER
26                                                         United States District Judge
27

28
                                                       5
                          [PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION (3:25-cv-04870-CRB)
